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                                     FEDERAL DEFENDER PROGRAM, INC.
                                              UNITED STATES DISTRICT COURT
                                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                           SUITE 1500, CENTENNIAL TOWER
                                             101 MARIETTA STREET, N.W.
                                              ATLANTA, GEORGIA 30303
STEPHANIE KEARNS                                                                                               TELEPHONE
EXECUTIVE DIRECTOR                                                                                             404 688-7530
                                                                                                               800 688-7538
                                                                                                               FAX
                                                                                                               404-688-0768




                                                    March 4, 2019

         VIA ECF
         Courtroom Deputies
         United States District Court for the Northern District of Georgia
         United States Courthouse
         75 Ted Turner Drive, S.W.
         Atlanta, GA 30303

                     Re:   Notice of Leave of Absence.

         Dear Courtroom Deputy:

                 This letter is to notify the Court pursuant to L. Cr. R. 57.1E(4), N.D. Ga., that I will be
         out of the office on Monday, August 19, 2019, through and including Friday, August 30, 2019. I
         request that the Court not schedule any appearances in the above-referenced matters on those
         dates. Your consideration is greatly appreciated.

                                                Respectfully submitted,

                                                /s/ Molly Hiland Parmer
                                                Molly Hiland Parmer
                                                Staff Attorney

         cc:         AUSA (by ECF)

         Cases noticed:
         United States v. William Boyd, IV, Case No. 1:17-CR-00407-AT-LTW-1
         United States v. Roman Brown, Case No. 1:18-CR-00304-TCB-JSA-1
         United States v. Javier Castillo-Rodriguez, Case No.: 1:19-CR-00049-TWT-LTW
         United States v. Sara Cea, Case No.: 2:18-CR-00042-RWS-JCF
         United States v. Chalmer Detling, II, Case No. 1:18-CR-00309-LMM-LTW
         United States v. Elvis Gordon, Case No. 1:17-CR-00354-MHC-LTW-1
         United States v. Jesse Guzman, Case No. 1:17-CR-00405-TWT-LTW-2
         United States v. Genia Letson, Case No. 1:18-mj-01131-JKL
         United States v. Jose Morales-Sanchez, Case No.: 1:19-CR-00048-ODE-JFK
     Case 1:18-cr-00309-LMM-LTW Document 44 Filed 03/04/19 Page 2 of 2




Cases noticed, con’t:
United States v. Brandon Nash, Case No.: 2:18-CR-00041-RWS-JCF
United States v. Terry M. Williams, Case No.: 1:18-CR-00247-TCB-LTW




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